






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00630-CV






Scott Colin Wright, Appellant


v.


Rosa Maria Delgado, Individually and as next friend of M.D. and D.D., Minor Children, all
with an Interest in the Estate of Jose Alfredo Delgado, Deceased; Belinda Rojas Reyna,
Individually, as Heir to the Estate of Marco Aurelio Rodriguez Delgado, and as next friend
of Jose Marco Rodriguez Rojas and Humberto Emiliano Rodriguez Rojas, along with
Rogelio Manuel Rodriguez Galindo and Alma Delia Delgado De Rodriguez; and 

Jose Antonio Tovar, Appellees






FROM THE DISTRICT COURT OF BELL COUNTY, 169TH JUDICIAL DISTRICT

NO. 204,713-C, HONORABLE GORDON G. ADAMS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Scott Colin Wright and appellees Rosa Maria Delgado, et. al., have filed
a joint motion to abate this appeal and remand the proceedings to the district court.  The joint motion
provides that the parties have reached a settlement agreement and that if the trial court approves the
settlement, the parties will file a joint motion to dismiss the appeal.  Accordingly, we grant the
motion, abate the appeal, and permit proceedings in the trial court to effectuate the parties'
agreement.  See Tex. R. App. P. 42.1(a)(2)(C).






						__________________________________________

						Bob Pemberton, Justice

Before Justices Patterson, Pemberton and Waldrop

Abated

Filed:   January 18, 2008


